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     Aaron D. Aftergood (239853)
 1     aaron@aftergoodesq.com
     THE AFTERGOOD LAW FIRM
 2   1880 Century Park East, Suite 200
     Los Angeles, CA 90067
 3   Telephone: (310) 550-5221
     Facsimile: (310) 496-2840
 4
     Stephen A. Klein*
 5     sklein@woodrowpeluso.com
     WOODROW & PELUSO, LLC
 6   3900 East Mexico Avenue, Suite 300
     Denver, Colorado 80210
 7   Telephone: (720) 907-4654
     Facsimile: (303) 927-0809
 8
     *Pro Hac Vice to be filed
 9
     Attorneys for Plaintiffs and the Classes
10

11                     UNITED STATES DISTRICT COURT
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
12

13    JASMINE MELENDEZ, individually
      and on behalf of all others similarly
14
      situated,
15                                                Case No.
                         Plaintiff,
16
                                                 CLASS ACTION COMPLAINT
17    v.
                                                 JURY TRIAL DEMANDED
18
      AMERICA ORGANIC SOLUTIONS
19    CORP, a Florida corporation,
20                       Defendant.
21

22                            CLASS ACTION COMPLAINT

23         Plaintiff Jasmine Melendez (“Melendez” or “Plaintiff”) brings this Class

24   Action Complaint and Demand for Jury Trial (“Complaint”) against Defendant

25   America Organic Solutions Corp (“Defendant” or “AOS”) to: (1) stop Defendant’s

26   practice of placing calls using an “automatic telephone dialing system” (“ATDS”)

27   to the cellphones of consumers nationwide without their prior express consent; (2)

28
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 1   stop Defendant’s practice of placing repeated phone calls to consumers on the
 2   National Do Not Call Registry who specifically request that Defendant stop calling
 3   them; (3) obtain an injunction prohibiting Defendant’s continued telephone calls to
 4   consumers; and (4) obtain redress for all persons injured by Defendants’ conduct.
 5         Plaintiff, for her Complaint, alleges as follows upon personal knowledge as
 6   to herself and her own acts and experiences, and, as to all other matters, upon
 7   information and belief, including investigation conducted by her attorneys.
 8                               JURISDICTION & VENUE
 9         1.      The Court has subject matter jurisdiction over this action pursuant to
10   28 U.S.C. § 1331, as the action arises under the Telephone Consumer Protection
11   Act, 47 U.S.C. § 227, et seq., (“TCPA” or the “Act”) a federal statute. The Court
12   also has jurisdiction under the Class Action Fairness Act, 28 U.S.C. § 1332
13   (“CAFA”). The alleged Class consists of over 100 persons, there is minimal
14   diversity, and the claims of the class members when aggregated together exceed $5
15   million. Further, none of the exceptions to CAFA applies.
16         2.      This Court has personal jurisdiction over Defendant because AOS has
17   solicited and entered into business contracts in this District, and a significant
18   portion of the unlawful conduct alleged in this Complaint occurred in and/or
19   emanated from this District.
20         3.      Venue is proper pursuant to 28 U.S.C. § 1391(b) because Defendant
21   directed the calls to this District, and because a significant portion of the wrongful
22   conduct giving rise to this case occurred in and/or emanated from this District.
23                                         PARTIES
24         4.      Plaintiff Jasmine Melendez is an individual residing in Los Angeles,
25   California.
26         5.      Defendant AOS is a corporation incorporated and existing under the
27
                                     CLASS ACTION COMPLAINT
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 1   laws of the State of Florida, whose principal place of business is 7500 NW 25th St.,
 2   240, Miami, Florida 33122.
 3                         COMMON FACTUAL ALLEGATIONS
 4            6.    Defendant is an online vitamin supplement and medicinal corporate
 5   retailer that targets Hispanic consumers in the United States with various ailments
 6   who are looking for a holistic and organic relief.
 7            7.    AOS makes sales through television advertisements and its website,
 8   http://www.todosaludentv.com, where it gathers personal billing information,
 9   addresses, and telephone numbers from consumers.
10            8.    After consumers make a single purchase from Defendant, they are
11   added to AOS’s telephone number call list and will receive multiple telephone calls
12   daily solicitating the purchase of more supplements. Additionally, Defendant
13   refuses to remove numbers from its call list, despite consumers revoking consent.
14            9.    Unfortunately for consumers, Defendant, in an attempt to secure more
15   business, engages in an aggressive telemarketing campaign by repeatedly making
16   unsolicited, repetitive telephone calls to consumer’s telephones using an automatic
17   telephone dialing system (“ATDS”)—often without consent and in violation of the
18   law.
19            10.   While autodialed calls may be made where a caller obtains prior
20   express written consent, Defendant places these calls to telephones using an ATDS
21   without consumer’ prior written express consent in violation of the TCPA.
22            11.   At no time did Defendant obtain prior express consent from the
23   Plaintiffs or the members of the Classes orally or in writing to receive autodialed
24   calls.
25            12.   In making the phone calls at issue in this Complaint, Defendant and/or
26   its agent utilized an ATDS. Specifically, the hardware and software used by
27
                                     CLASS ACTION COMPLAINT
28                                             -3-
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 1   Defendant and/or its agents has the capacity to store, produce, and dial random or
 2   sequential numbers, and/or receive and store lists of telephone numbers, and to dial
 3   such numbers, en masse, in an automated fashion without human intervention.
 4   Defendant’s automated dialing equipment includes features substantially similar to
 5   a predictive dialer in that it is capable of making numerous calls simultaneously,
 6   without human intervention.
 7         13.    Furthermore, Defendant repeatedly makes calls to consumers who
 8   have their numbers on the National Do Not Call Registry.
 9         14.    Defendant knowingly made, and continues to make, repeated
10   telemarketing calls to consumers who are registered on the National Do Not Call
11   Registry. As such, Defendant not only invaded the personal privacy of Plaintiff and
12   members of the putative Classes, it also intentionally and repeatedly violated the
13   TCPA.
14         15.    The calls were made by or on AOS’s behalf and with its knowledge
15   and approval. AOS knew about the calls, received the benefits of the calls, directed
16   that the calls be made, and/or ratified the making of the calls.
17         16.    The TCPA was enacted to protect consumers from unsolicited
18   telephone calls like those alleged in this case. In response to AOS’s unlawful
19   conduct, Plaintiff files the instant lawsuit and seeks an injunction requiring AOS to
20   cease all unsolicited telephone calling activities to consumers as complained of
21   herein and an award of statutory damages to the members of the Class, together
22   with costs and reasonable attorneys’ fees.
23                   FACTS SPECIFIC TO PLAINTIFF MELENDEZ
24         17.    Plaintiff Melendez is the owner and customary user of the cellphone
25   number ending in 1102.
26         18.    Plaintiff’s cellphone number ending in 1102 has been registered on the
27
                                    CLASS ACTION COMPLAINT
28                                             -4-
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 1   National Do Not Call registry since July 24, 2019.
 2         19.       On August 19th, 2019, Plaintiff purchased an herbal medicine from
 3   AOS in an attempt to treat her mother’s illness. Unfortunately, after taking a couple
 4   doses of the medication, Melendez’s mother had an adverse, allergic reaction to the
 5   medication and subsequently abandoned the medicine.
 6         20.       Around a month after the purchase, in or around September 2019, AOS
 7   began placing solicitation calls to Plaintiff, seeking to generate additional sales of
 8   its medicine.
 9         21.       Plaintiff informed the caller(s) that she was not interested and
10   repeatedly asked to be put on Defendant’s internal Do-Not-Call List, as early as
11   September or October 2019.
12         22.       Despite her requests, Plaintiff continued to receive repeated,
13   unsolicited calls from several numbers registered to Defendant, and she continues to
14   receive calls even at the time of filing her Complaint.
15         23.       To illustrate Defendant’s invasive and relentless behavior, some recent
16   calls Plaintiff has received are documented below. During a period of
17   approximately two months beginning November 26, 2019, Defendant called
18   Plaintiff from the following numbers:
19               a. (786) 706-5007;
20               b. (786) 673-XXXX ending with the following four-digit numbers: 0156,
21                   2711, 5354, 5351, and 5349;
22               c. (442) 232-4594;
23               d. (786) 692-XXXX ending with the following four-digit numbers: 9361,
24                   9365, 9423, and 9339;
25               e. (956) 431-XXXX ending with the following four-digit numbers: 0694,
26                   0797, 0820, 0821, 0828 and 0844; and
27
                                       CLASS ACTION COMPLAINT
28                                                -5-
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 1               f. (657) 345-XXXX ending with the following four-digit numbers: 2349,
 2                 2350, 2354, and 2359.
 3   In a span of about two months, Plaintiff received more than 35 calls from the above
 4   numbers, all of which are owned by Defendant. These are just some of the numbers
 5   from which Defendant has called Plaintiff non-stop since she purchased medicine
 6   from AOS.
 7         21.     Though all of the numbers listed are registered to AOS, many of the
 8   numbers do not connect to a representative or any active phone line, suggesting that
 9   these calls were placed using an ATDS as defined by the TCPA.
10         24.     All of the calls were made by agents or employees of AOS at the
11   direction and oversight of AOS. AOS knew about, directed, ratified, and benefitted
12   from the calls.
13         25.     Prior to receiving the above-referenced calls, Plaintiff’s relationship
14   with AOS was strictly a single purchase of supplemental pills for her mother’s
15   health. Plaintiff never requested that Defendant place calls to her or to offer her its
16   products, and Plaintiff has directly requested on numerous occasions that Defendant
17   stop calling her.
18         26.     Defendant has also failed to comply with the TCPA by continuing to
19   call consumers like Plaintiff who are registered on the National Do Not Call registry
20   after such consumers specifically request that the calls stop.
21         27.     Defendant AOS was, and still is, aware that the above-described
22   autodialed calls were made to consumers like Plaintiff who have not consented to
23   receive them.
24         28.     Likewise, Defendant was, and still is, aware that many such calls were
25   made to consumers who were registered on the National Do Not Call registry and
26   made explicit requests to AOS to stop the calls.
27
                                     CLASS ACTION COMPLAINT
28                                              -6-
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 1         29.    By making unsolicited calls as alleged herein, Defendant has caused
 2   Plaintiff and members of the Classes actual harm. This includes the aggravation,
 3   nuisance, and invasions of privacy that result from the placement of such calls, in
 4   addition to the wear and tear on their phones, interference with the use of their
 5   phones, consumption of battery life, loss of value realized for monies consumers
 6   paid to their carriers for the receipt of such calls, and the diminished use,
 7   enjoyment, value, and utility of their telephone plans. Furthermore, Defendant made
 8   the calls knowing they trespassed against and interfered with Plaintiff and the other
 9   Class members’ use and enjoyment of, and the ability to access, their phones,
10   including the related data, software, and hardware components.
11         30.    To redress these injuries, Plaintiff, on behalf of herself and Classes of
12   similarly situated individuals, brings this suit under the TCPA, which prohibits
13   unsolicited telemarketing calls to telephones. On behalf of the Classes, Plaintiff
14   seeks an injunction requiring Defendant to cease all unauthorized calling activities
15   and an award of statutory damages to Class members, together with costs, pre- and
16   post-judgment interest, and reasonable attorneys’ fees.
17                         CLASS ACTION ALLEGATIONS
18         31.    Plaintiff brings this action in accordance with Federal Rule of Civil
19   Procedure 23(b)(2) and Rule 23(b)(3) on behalf of herself and the following Classes
20   defined as follows:
21         Autodialed No Consent Class: All persons in the United states who
22         from four years prior to the filing of the initial complaint in this action
           to the present: (1) Defendant, or a third person acting on behalf of
23
           Defendant, called; (2) on the person’s cellular telephone; (3) using the
24         same equipment that was used to call the Plaintiff; (4) for the purpose of
           marketing or selling Defendant’s products and services; and (5) for
25
           whom Defendant claims it obtained prior express consent in the same
26         manner as Defendant may claim it supposedly obtained prior express
           consent to call Plaintiff Melendez.
27
                                     CLASS ACTION COMPLAINT
28                                              -7-
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 1
           DNC Stop Class: All persons in the United States from four years prior
 2         to the filing of this action through the present: (1) who had his or her
 3         telephone number(s) registered with the National Do Not Call Registry
           for at least thirty days; (2) who received more than one telephone call
 4         made by or on behalf of Defendant within a 12-month period; and (3)
 5         who requested that Defendants not call them again, (4) and who received
           at least one additional call from Defendants at least thirty days after
 6         requesting that Defendants not call them again.
 7
           32.    The following people are excluded from the Class: (1) any Judge or
 8
     Magistrate presiding over this action and members of their families; (2) Defendant,
 9
     Defendant’s subsidiaries, parents, successors, predecessors, and any entity in which
10
     the Defendant or its parents have a controlling interest and their current or former
11
     employees, officers and directors; (3) persons who properly execute and file a
12
     timely request for exclusion from the Class; (4) persons whose claims in this matter
13
     have been finally adjudicated on the merits or otherwise released; (5) Plaintiff’s
14
     counsel and Defendant’s counsel; and (6) the legal representatives, successors, and
15
     assignees of any such excluded persons. Plaintiff anticipates the need to amend the
16
     class definitions following a period of appropriate discovery regarding the purpose
17
     of the calls, any consent obtained, and any third party on whose behalf the calls
18
     were made.
19
           33.    Numerosity: The exact number of members within the Class is
20
     unknown and not available to Plaintiff at this time, but individual joinder is
21
     impracticable. On information and belief, Defendant has placed telemarketing calls
22
     to thousands of consumers who fall into the defined Class. The number of members
23
     of the Class and Class membership can be identified through objective criteria,
24
     including Defendant’s phone records.
25
           34.    Typicality: Plaintiff’s claims are typical of the claims of other
26
     members of the Class in that Plaintiff and the members of the Class sustained the
27
                                    CLASS ACTION COMPLAINT
28                                             -8-
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 1   same legal injuries and damages arising out of Defendant’s uniform wrongful
 2   conduct. If Plaintiff has an entitlement to relief, so do the rest of the Class
 3   Members.
 4         35.    Adequate Representation: Plaintiff will fairly and adequately
 5   represent and protect the interests of the Class and has retained counsel competent
 6   and experienced in complex class actions, including class actions under the TCPA.
 7   Neither Plaintiff nor her counsel has any interest in conflict with or antagonistic to
 8   those of the Class, and Defendant has no defenses unique to Plaintiff.
 9         36.    Commonality and Predominance: There are questions of law and
10   fact common to the claims of Plaintiff and the Class, and those questions will drive
11   the litigation and predominate over any questions that may affect individual
12   members of the Class. Common questions for the Class include, but are not
13   necessarily limited to the following:
14                (a)    Whether Defendant’s conduct violated the TCPA;
15                (b)    Whether the calls were made by or on behalf of Defendant
16         and/or whether Defendant knew about, approved, or benefitted from the calls;
17                (c)    Whether Defendant placed the calls using an ATDS;
18                (d)    Whether Defendant had any prior express written consent to
19         place the calls; and
20                (e)    Whether Defendant’s conduct was willful or knowing such that
21         members of the Class are entitled to treble damages.
22         37.    Conduct Similar Towards All Class Members: By committing the
23   acts set forth in this pleading, Defendant has acted or refused to act on grounds
24   substantially similar towards all members of the Class so as to render certification
25   of the Class for final injunctive relief and corresponding declaratory relief
26   appropriate under Rule 23(b)(2).
27
                                     CLASS ACTION COMPLAINT
28                                              -9-
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 1         38.      Superiority & Manageability: This case is also appropriate for class
 2   certification because class proceedings are superior to all other available methods
 3   for the fair and efficient adjudication of this controversy. Joinder of all parties is
 4   impracticable, and the damages suffered by the individual members of the Classes
 5   will likely be relatively small, especially given the burden and expense of individual
 6   prosecution of the complex litigation necessitated by Defendant’s actions. Thus, it
 7   would be virtually impossible for the individual members of the Classes to obtain
 8   effective relief from Defendant’s misconduct. Even if members of the Classes could
 9   sustain such individual litigation, it would still not be preferable to a class action,
10   because individual litigation would increase the delay and expense to all parties due
11   to the complex legal and factual controversies presented in this Complaint. By
12   contrast, a class action presents far fewer management difficulties and provides the
13   benefits of single adjudication, economies of scale, and comprehensive supervision
14   by a single Court. Economies of time, effort and expense will be fostered, and
15   uniformity of decisions ensured. Also, there are no pending governmental actions
16   against Defendant for the same conduct.
17
                                FIRST CAUSE OF ACTION
      Violation of the Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq.
18             On behalf of Plaintiff and the Autodialed No Consent Class
19
               39. Plaintiff incorporates the foregoing allegations as if fully set forth
20
     herein.
21
               40. Defendant made unsolicited and unwanted autodialed telemarketing
22
     calls to cellular telephone numbers belonging to Plaintiff and the other members of
23
     the No Consent Class, without their prior express written consent in an effort to
24
     generate leads for Defendant’s supplement products and other natural supplements.
25
26

27
                                       CLASS ACTION COMPLAINT
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 1          41. Defendant failed to obtain any prior express consent that included, as
 2   required by 47 C.F.R. § 64.1200(f)(8)(i), a “clear and conspicuous” disclosure
 3   informing the person signing that:
 4          (A) By executing the agreement, such person authorizes the seller to
 5          deliver or cause to be delivered to the signatory telemarketing calls
 6          using an automatic telephone dialing system; and
 7          (B) The person is not required to sign the agreement (directly or
 8          indirectly), or agree to enter into such an agreement as a condition of
 9          purchasing any property, goods, or services.
10          42. Further, Defendant made the autodialed telephone calls using
11   equipment that has the capacity to store or produce telephone numbers to be called
12   using a random or sequential number, and/or to receive and store lists of phone
13   numbers, and to dial such numbers, en masse, simultaneously and without human
14   intervention.
15          43. By making unsolicited telephone calls to Plaintiff and members of the
16   No Consent Class’s cellular telephones without prior express consent, and by
17   utilizing an ATDS, Defendant violated 47 U.S.C. § 227(b)(1)(A)(iii).
18          44. As a result of Defendant’s unlawful conduct, Plaintiff and the members
19   of the No Consent Class suffered actual damages in the form of monies paid to
20   receive the unsolicited autodialed telephone calls on their cellular telephones and,
21   under Section 227(b)(3), are each entitled to, inter alia, a minimum of $500 in
22   damages for each such violation of the TCPA.
23          45. Should the Court determine that Defendant’s conduct was willful and
24   knowing, the Court may, pursuant to section 227(b)(3), treble the amount of
25   statutory damages recoverable by Plaintiff and the other members of the No
26   Consent Class.
27
                                    CLASS ACTION COMPLAINT
28                                            -11-
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 1
                                  SECOND CAUSE OF ACTION
                     Violation of 47 U.S.C. § 227, et seq., Do Not Call Registry
 2                        On behalf of Plaintiff and the DNC Stop Class
 3
               46. Plaintiff incorporates the foregoing allegations as if fully set forth
 4
     herein.
 5
               47. 47 U.S.C. § 227(c) provides that any “person who has received more
 6
     than one telephone call within any 12-month period by or on behalf of the same
 7
     entity in violation of the regulations prescribed under this subsection may” bring a
 8
     private action based on a violation of said regulations, which were promulgated to
 9
     protect telephone subscribers’ privacy rights to avoid receiving telephone
10
     solicitations to which they object.
11
               48. The TCPA’s implementing regulation, 47 C.F.R. § 64.1200(c),
12
     provides that “[n]o person or entity shall initiate any telephone solicitation” to “[a]
13
     residential telephone subscriber who has registered his or her telephone number on
14
     the national do-not call registry of persons who do not wish to receive telephone
15
     solicitations that is maintained by the federal government.”
16
               49. 47 C.F.R. § 64.1200(d) further provides that “[n]o person or entity
17
     shall initiate any call for telemarketing purposes to residential telephone subscriber
18
     unless such person or entity has instituted procedures for maintaining a list of
19
     persons who request not to receive telemarketing calls made by or on behalf of that
20
     person or entity. The procedures instituted must meet the following minimum
21
     standards:
22

23
               (1) Written policy. Persons or entities making calls for
24             telemarketing purposes must have a written policy, available upon
25             demand, for maintaining a do-not-call list.

26             (2)   Training of personnel engaged in telemarketing. Personnel
27
                                       CLASS ACTION COMPLAINT
28                                               -12-
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 1
          engaged in any aspect of telemarketing must be informed and trained
          in the existence and use of the do-not-call list.
 2

 3        (3) Recording, disclosure of do-not-call requests. If a person or
          entity making a call for telemarketing purposes (or on whose behalf
 4        such a call is made) receives a request from a residential telephone
 5        subscriber not to receive calls from that person or entity, the person
          or entity must record the request and place the subscriber’s name, if
 6        provided, and telephone number on the do-not-call list at the time the
 7        request is made. Persons or entities making calls for telemarketing
          purposes (or on whose behalf such calls are made) must honor a
 8        residential subscriber’s do-not-call request within a reasonable time
 9        from the date such request is made. This period may not exceed
          thirty days from the date of such request….
10

11        (4) Identification of sellers and telemarketers. A person or entity
          making a call for telemarketing purposes must provide the called
12        party with the name of the individual caller, the name of the person
13        or entity on whose behalf the call is being made, and a telephone
          number or address at which the person or entity may be contacted.
14        The telephone number provided may not be a 900 number or any
15        other number for which charges exceed local or long distance
          transmission charges.
16

17        (5) Affiliated persons or entities. In the absence of a specific
          request by the subscriber to the contrary, a residential subscriber’s
18        do-not-call request shall apply to the particular business entity
19        making the call (or on whose behalf a call is made), and will not
          apply to affiliated entities unless the consumer reasonably would
20        expect them to be included given the identification of the caller and
21        the product being advertised.
22        (6) Maintenance of do-not-call lists. A person or entity making
23        calls for telemarketing purposes must maintain a record of
          consumer’s request not to receive further telemarketing calls. A do-
24        not-call request must be honored for 5 years from the time the request
25        is made.”
26
          50. Defendant violated 47 C.F.R. §64.1200 by initiating calls for
27
                                 CLASS ACTION COMPLAINT
28                                         -13-
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 1   telemarketing purposes to residential telephone subscribers such as Plaintiff and
 2   members the DNC Stop Class who were registered on the national do not call
 3   registry and who specifically told Defendant to stop calling them, and who
 4   received two more calls within a 12-month period from Defendants after informing
 5   Defendant to stop calling them.
 6            51. Defendant also violated 47 C.F.R. § 64.1200(d) by initiating these
 7   telemarketing calls to Plaintiff and members of the DNC Stop Class without
 8   instituting procedures that comply with minimal regulatory standards, including
 9   having a written policy for maintaining a list of persons who request not to receive
10   telemarketing telephone calls, and by not informing and training its personnel or
11   agents engaged in telemarketing in the existence and use of any such do-not-call
12   policy or list.
13            52. As a result of Defendant’s unlawful conduct, Plaintiff and the Class
14   suffered actual damages and, under section 47 U.S.C. § 227(C)(5), Plaintiff and
15   each member of the DNC Stop Class are each entitled to receive up to $500 in
16   damages for each violation of 47 C.F.R. § 64.1200.
17            53. Should the Court determine that Defendant’s conduct was willful and
18   knowing, the Court may, pursuant to section 227(c)(5), treble the amount of
19   statutory damages recoverable by Plaintiff and the other members of the DNC Stop
20   Class.
21            54. Plaintiff is also entitled to appropriate injunctive relief and
22   corresponding declaratory relief requiring Defendant to implement do not call
23   procedures and to cease making repeated unsolicited calls to numbers listed on the
24   national Do Not Call registry who specifically told Defendant to stop calling them.
25                                  PRAYER FOR RELIEF
26

27
                                      CLASS ACTION COMPLAINT
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 1         WHEREFORE, Plaintiff, on behalf of herself and the Classes, prays for the
 2   following relief:
 3         A.     An order certifying the Classes as defined above, appointing Plaintiff
 4                as the representative of the Classes, and appointing her counsel as
 5                Class Counsel;
 6         B.     An order declaring that Defendant’s actions, as set out above, violate
 7                the TCPA;
 8         C.     An injunction requiring Defendant to cease all repeated calls to
 9                consumers whose numbers are listed on the Do Not Call Registry;
10         D.     An award of actual monetary loss from such violations or the sum of
11                five hundred dollars ($500.00) for each violation, whichever is greater
12                all to be paid into a common fund for the benefit of the Plaintiff and
13                the Class Members;
14         E.     An award of trebled damages if willful or knowing violations are
15                shown;
16         F.     An award of reasonable attorneys’ fees and costs to be paid out of the
17                common fund prayed for above; and
18         G.     Such other and further relief that the Court deems reasonable and just.
19                                     JURY DEMAND
20                Plaintiff requests a trial by jury of all claims that can be so tried.
21

22   Dated: June 16, 2020                     JASMINE MELENDEZ, individually and
                                              on behalf of all others similarly situated,
23
                                              By: /s/ Aaron D. Aftergood
24
                                              One of Plaintiff’s Attorneys
25
                                              Aaron D. Aftergood (239853)
26                                              aaron@aftergoodesq.com
                                              THE AFTERGOOD LAW FIRM
27
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                                       1880 Century Park East, Suite 200
 1                                     Los Angeles, CA 90067
                                       Telephone: (310) 550-5221
 2                                     Facsimile: (310) 496-2840
 3                                     Stephen Klein*
                                       sklein@woodrowpeluso.com
 4                                     WOODROW & PELUSO, LLC
                                       3900 East Mexico Ave., Suite 300
 5                                     Denver, Colorado 80210
                                       Telephone: (720) 907-4654
 6                                     Facsimile: (303) 927-0809
 7
                                       Counsel for Plaintiff and the Putative Class
 8                                     *pro hac vice application to be filed
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                               CLASS ACTION COMPLAINT
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